             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA              )
                                      )
Plaintiff,                            )
                                      )
    v.                               )     Case No. 19-00008-CR-W-HFS
MELANI YITZEL COLLAZO                 )
JIMENEZ,                              )
                                      )
                                      )
Defendant.                            )

                                      ORDER

      At a Change of Plea Hearing held on September 11, 2020, before Magistrate

Judge John T. Maughmer, defendant entered a guilty plea to Count 3 of the

Indictment, that is, Accessory after the fact to Hobbs Act Robbery.

      In a Report and Recommendation dated September 11, 2020 (Doc. 70),

Judge Maughmer determined that the guilty plea was knowledgeable and

voluntary and that the offense was supported by an independent basis in fact

containing each essential element of the offense.

      After review of the hearing record (and in the absence of objections) I

ADOPT the Report and Recommendation (Doc. 70) and ACCEPT defendant’s guilty


        Case 4:19-cr-00008-HFS Document 73 Filed 10/02/20 Page 1 of 2
plea and direct the Clerk to enter it. A Presentence Investigation Report shall be

filed within 120 days.




                                             s/ HOWARD F. SACHS        _
                                             HOWARD F. SACHS
                                             United States District Judge

Dated: October 2, 2020
Kansas City, Missouri




        Case 4:19-cr-00008-HFS Document 73 Filed 10/02/20 Page 2 of 2
